
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00170-CR


______________________________




HARRY EUGENE PETRIE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 115th Judicial District Court


Upshur County, Texas


Trial Court No. 14,008




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Harry Eugene Petrie, Defendant below, appeals his conviction by a jury for the aggravated
sexual assault of V.J., a child (Section 22.021 of the Texas Penal Code), (1) claiming two points of
error:  (1) that the trial court erred in allowing a forensic interviewer with a child advocacy group
to testify as an outcry witness, maintaining that the child's father was the sole person to qualify to
testify in that capacity and (2) that the Defendant received ineffective assistance of counsel at trial. 
We affirm.

I.	PROPER OUTCRY WITNESS

	"Hearsay" is a statement, other than one made by the declarant while testifying at the trial or
hearing, offered in evidence to prove the truth of the matter asserted.  Tex. R. Evid. 801(d).  Hearsay
testimony is generally inadmissible at trial.  See Tex. R. Evid. 802. 

	However, the Texas Legislature recognized the difficulty which the prohibition against
hearsay testimony presents in some circumstances and, in response, enacted Article 38.072 of the
Texas Code of Criminal Procedure. (2)  This Article is 

	a rule of evidence admissibility, allowing trial courts to admit some hearsay
statements in the prosecution of certain offenses against children when those
statements are made under the specified conditions.  This statute serves the societal
interests of promoting the fair prosecution of child abuse cases and of protecting
children in court by allowing the admission of their casual "street corner" confidences
to an adult as a supplement to (or sometimes even a substitute for) what may be
halting, incoherent, or traumatic in-court testimony.  


Martinez v. State, 178 S.W.3d 806, 810 (Tex. Crim. App. 2005).

	Restrictions to this exception to the hearsay rule exist.  Pertinent to this case, it is required
that the statements were made (a) by the child against whom the offense was allegedly committed;
and (b) to the first person, eighteen years of age or older, other than the defendant, to whom the child
made a statement about the offense.

	This kind of statement made by a child victim to an adult is usually called an "outcry
statement" and the person to whom the proffered statements are made by the child is commonly
called the "outcry witness."  Robinson v. State, 985 S.W.2d 584, 586 (Tex. Civ. App.--Texarkana
1998, pet. ref'd).  The Defendant argues that the father of the child victim (and not Martha Dykes,
the child forensic interviewer) was the first person to whom the child made an outcry statement; the
Defendant, therefore, contends that the father of the child was the proper outcry witness.
Accordingly, Petrie complains that the testimony of the forensic interviewer was inadmissible as
hearsay. 

	A.	Factual Circumstance

	V.J., the child victim, is the daughter of Ricky and Joanna, who are divorced.  Ricky is the
primary custodial parent of the child.  Ricky has a live-in girlfriend, Janie, who had three sons prior
to having begun residence with Ricky and one son by Ricky after they began to live together.  Ricky,
Janie, and the four boys reside in one mobile home.  V.J. sleeps at her paternal grandparents' home,
which is another mobile home only a short walk down a path from Ricky's home; because of the
proximity of the two homes, V.J. spends a good portion of her day at Ricky's home.  Janie does not
work outside the home and is present most of the time.

	Janie was aghast when she entered the living room of the home and discovered V.J. (six years
old at the time of this incident and eight years old at the time of trial) performing fellatio on Janie's
three-year-old son.  Janie immediately telephoned Ricky, who was at his parents' home and Ricky
and his parents all hurried over to Ricky's house. 

	Ricky and V.J. discussed "what had taken place and ask(ed) why," a talk which lasted about
twenty to twenty-five minutes; during this talk, V.J. confided to Ricky that her maternal grandfather
(the Defendant) had taught her to do that, going on to say that the Defendant had spanked her and
made her do that to him, that she had not told her father because the Defendant had said that he
would kill Ricky if she told, that the incident had occurred in the Defendant's living room, and that
the paternal grandmother was in the house when it happened.  In addition, he testified that V.J. had
said that she had told her mother previously, but that her mother had said to just keep her mouth shut
about it.  Ricky said that although V.J. said that her grandfather had made her do that more than
once, she neither gave any details about any other such incident, how many times he would take his
penis from her mouth and reinsert it when these incidents occurred, nor her feelings about the
incidents.  It was mentioned that Ricky's mother also spoke with the child at that time regarding the
incident, but the testimony did not reveal the content of that discussion.

	The sheriff was immediately called and an appointment was made for V.J. to speak to
someone at the Northeast Texas Child Advocacy Center (CAC) within days after V.J.'s revelation
of the occurrence of the sexual assault.  Dykes, the child forensic interviewer with the CAC, did an
extensive interview of over an hour and elicited substantial details from V.J. concerning the conduct
between V.J. and the Defendant.

	B.	Ruling on Objection to Hearsay

	The Defendant had been given prior notice of the intention of the State to call Dykes to testify
as the outcry witness.  At a hearing outside the presence of the jury, the Defendant argued that the
"first person" to whom V.J. made a statement about the offense was her father, not Dykes.  His
argument was that since there can only be one outcry witness, Dykes could not testify about
information related to her by V.J.  During the hearing, both Dykes and Ricky were questioned on
voir dire to provide a summary of the substance of their respective conversations with V.J.

	After the hearing, the trial court overruled Defendant's objection and allowed Dykes's
testimony as the outcry witness.

	C.	Standard of Review

	"When reviewing a trial court's ruling on the admission of evidence, an appellate court
applies an abuse of discretion standard of review."  Casey v. State, 215 S.W.3d 870, 879 (Tex. Crim.
App. 2007); accord Montgomery v. State, 810 S.W.2d 372, 391 (Tex. Crim. App. 1991) (op. on
reh'g).  "A trial court's determination that an outcry statement is admissible under article 38.072 is
reviewed for an abuse of discretion."  Nino v. State, 223 S.W.3d 749, 752 (Tex. App.--Houston
[14th Dist.] 2007, no pet.); see Garcia v. State, 792 S.W.2d 88, 91 (Tex. Crim. App. 1990).  "'[A]
trial court has broad discretion in determining' the proper outcry witness."  Villanueva v. State, 209
S.W.3d 239, 247 (Tex. App.--Waco 2006, no pet.) (quoting Garcia, 792 S.W.2d at 92).

	However, although a trial court has broad discretion in determining the person who can be
an outcry witness, that discretion is not unfettered.  The statute, which prescribes a narrow exception
to the hearsay rule, defines the identity of the outcry witness as being the "first person . . . to whom
the child made a statement about the offense."  Tex. Code Crim. Proc. Ann. art. 38.072.  There is
no exception to allow the second person to whom the child speaks about such an incident, whether
or not that second person can elicit more details than the first. 

	Plainly, Ricky testified that V.J. had told him "who" did this thing (the Defendant), "where"
it occurred (in the living room of the child's paternal grandparent), and "what" occurred (she was
forced to perform fellatio).  In a journalistic sense, the only remaining question ("when") remained
unanswered throughout the trial.  Although many more details were elicited through the skilled
questioning of the trained interviewer than by the child's father, those details were not related to the
"first person" prescribed by the statute to qualify as the outcry witness.

	Accordingly, there was error in having permitted the hearsay testimony of Dykes, the forensic
interviewer.

	D.	Harm Analysis

	We do not reverse a ruling based on nonconstitutional error that does not affect "substantial
rights."  See Tex. R. App. P. 44.2(b).  If, after examining the record as a whole, we determine that
any error had slight or no effect on the jury, then we will not overturn the trial court's ruling. 
Morales v. State, 32 S.W.3d 862, 867 (Tex. Crim. App. 2000) (quoting Johnson v. State, 967 S.W.2d
410, 417 (Tex. Crim. App. 1998)).  An error affects a substantial right when the error has a
substantial and injurious effect or influence on the jury's verdict.  King v. State, 953 S.W.2d 266, 271
(Tex. Crim. App. 1997); Russell v. State, 113 S.W.3d 530, 549 (Tex. App.--Fort Worth 2003, pet.
ref'd).  The "presence of overwhelming evidence of guilt plays a determinative role" in this analysis. 
Motilla v. State, 78 S.W.3d 352, 356 (Tex. Crim. App. 2002) (quoting Harris v. State, 790 S.W.2d
568, 587 (Tex. Crim. App. 1989)).  If we have "a grave doubt" that the result was free from the
substantial influence of the error, then we must reverse.  Burnett v. State, 88 S.W.3d 633, 637 (Tex.
Crim. App. 2002).  The court has explained that "grave doubt" means that "in the judge's mind, the
matter is so evenly balanced that he feels himself in virtual equipoise as to the harmlessness of the
error."  Id. at 637-38 (citing O'Neal v. McAninch, 513 U.S. 432, 433-36 (1995)).  Thus, "in cases
of grave doubt as to harmlessness the petitioner must win."  Burnett, 88 S.W.3d at 638.

	In essence, the fact that Dykes was not the proper outcry witness (whereby she would fall into
the category of witnesses permitted to testify under the outcry-witness exception to the hearsay rule),
her testimony became inadmissible as hearsay.  Therefore, in this case, we will completely disregard
her entire testimony to determine what other evidence there was to urge the jury to vote for a
conviction.

	First, we have the testimony of Ricky, V.J.'s father, which is set out above.  While his outcry
testimony was neither as detailed nor as extensive as that of the forensic interviewer, the basic facts
of the assault are set out.

	Second, there was the testimony of Shane Jackson, the licensed counselor to whom V.J. was
taken for treatment of her psychological condition after the assault was discovered.  There was no
general hearsay objection to the testimony of this witness, which was admissible.  See Tex. R. Evid.
803(4).  The testimony of Jackson tracked much of that given by the forensic interviewer and
provided about as much detail.  Consequently, almost the same information contained in the
testimony of Dykes, the putative outcry witness, was repeated in Jackson's testimony.

	Third, there was the testimony of V.J. herself.  Although her testimony was uncertain in many
respects and although her testimony contradicted some of the things which Jackson had said (as
might be expected with an eight year old on the witness stand), she was definitely clear in her
testimony that her grandfather, the Defendant, had compelled her to take his penis into her mouth.

	Consequently, even if one totally disregards any testimony given by Dykes, overwhelming
evidence of guilt remains.  

	However, we examine not only the other evidence presented, we also review the entire record
of the trial.  In doing so, we consider the nature of the evidence supporting the verdict, the character
of the error, and how the erroneously-admitted evidence might have been considered in connection
with other evidence in the case.  Motilla, 78 S.W.3d at 357-58.  We take into account the source and
the nature of the error, the extent of emphasis placed upon it by the State, its probable collateral
implications, the weight a juror would probably place on the error, and whether declaring it harmless
would be likely to encourage the State to repeat the same mistake with impunity.  Harris v. State,
790 S.W.2d 568, 587 (Tex. Crim. App. 1989); Fischer v. State, 235 S.W.3d 470, 475 (Tex.
App.--San Antonio 2007, no pet.).

	For the most part, the testimony proffered by Dykes was redundant of other testimony,
particularly the testimony of Jackson, the child's counselor. The reference made by the State to
Dykes's testimony on closing argument was slight. (3)  On the other hand, the Defendant's closing
argument relied quite a bit on this testimony, pointing out that V.J. began the interview with Dykes
by making four separate denials of the Defendant's conduct four times before finally relating that
Petrie had compelled her to put his penis in her mouth.  It would appear that on closing argument,
then, the Defendant used Dykes's testimony more effectively to buttress his case than the State used
it to convict him. In short, Dykes's testimony was not so compelling, so unique, or so persuasive that
it played a significant role in the trial.  The State, which offered it, placed little emphasis on its
importance during argument.  Accordingly, its influence on the jurors was relatively minimal, given
the weight  of the entire case, and it is highly unlikely that the jurors unduly relied upon it in voting
for a conviction.

	Under this analysis, we entertain no grave doubts that the result at which the jury arrived was
free from the substantial influence of the error.

	This being the case, we find that the error of allowing Dykes to testify as the outcry witness
was harmless.  This point of error is rejected.

II.	CLAIM OF INEFFECTIVE ASSISTANCE OF COUNSEL

	The Defendant next claims that he was provided ineffective assistance of counsel, thereby
depriving him of his constitutional right to the same.  

	The standard of testing claims of ineffective assistance of counsel is set out in Strickland v.
Washington, 466 U.S. 668 (1984).  To prevail on this claim, an appellant must prove by a
preponderance of the evidence (1) that his counsel's representation fell below an objective standard
of reasonableness and (2) that the deficient performance prejudiced the defense.  Id. at 689; Rosales
v. State, 4 S.W.3d 228, 231 (Tex. Crim. App. 1999).  To meet this burden, the appellant must prove
that the attorney's representation fell below the standard of prevailing professional norms and that
there is a reasonable probability that, but for the attorney's deficiency, the result of the trial would
have been different.  Tong v. State, 25 S.W.3d 707, 712 (Tex. Crim. App. 2000).  Under this
standard, a claimant must prove that counsel's representation so undermined the proper functioning
of the adversarial process that the trial cannot be relied on as having produced a just result. 
Strickland, 466 U.S. at 686. 

	The Defendant cites several examples which took place during trial which, he alleges, when
taken in the cumulative, prove that he did not receive effective counsel.  These examples are: 

	(1)	Some witnesses (Ricky, the forensic interviewer, the licensed professional
counselor, and V.J.'s mother) all testified to one degree or another that they believed
V.J. to be telling the truth in her allegations against the Defendant but Defendant's
counsel made no objection; 


	(2)	That when a drawing made by V.J. during her counseling session portrayed
the Defendant in jail being deprived of television rights, the right to communicate
with anyone, etc., was presented, the only objection lodged by the Defendant's
counsel to its introduction was that no proof had been adduced for it to fall within the
business records exception when a proper objection would have been to object to its
introduction as being unduly prejudicial to the Defendant; and


	(3) 	Defendant's counsel either did not object to the testimony of Defendant's wife
and daughter that Defendant had been prone to violence toward his wife and his now-deceased son in times past or, when he lodged objections which were sustained, he
failed to request that the jury be instructed to disregard that evidence.


	Texas appellate courts begin any such analysis by presuming that the appellant's trial counsel
performed competently.  Thompson v. State, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999).  We also
presume that counsel's decisions were reasonably professional and were motivated by sound trial
strategy.  Jackson v. State, 877 S.W.2d 768, 771 (Tex. Crim. App. 1994).  In the absence of direct
evidence of counsel's reasons for the challenged conduct, an appellate court will assume a strategic
motivation for the conduct if any can be imagined.  Garcia v. State, 57 S.W.3d 436, 440 (Tex. Crim.
App. 2001); Mallett v. State, 65 S.W.3d 59, 63 (Tex. Crim. App. 2001).  We will not conclude that
the challenged conduct constitutes deficient performance unless the conduct was so outrageous that
no competent attorney would have engaged in it.  Garcia, 57 S.W.3d at 440.  The best kind of record
for this kind of review is one produced on a hearing on a motion for new trial or a hearing on an
application for writ of habeas corpus.  Smith v. State, 968 S.W.2d 490, 494 (Tex. App.--Texarkana
1998, no pet.).  That strategy was not involved here.

	The Defendant has failed to establish that he suffered the ineffective assistance of counsel.

	We affirm the judgment of the trial court.



						Bailey C. Moseley

						Justice


Date Submitted:	July 15, 2008

Date Decided:		August 6, 2008


Do Not Publish

1. See Tex. Penal Code Ann. § 22.021 (Vernon Supp. 2008).
2. See Tex. Code Crim. Proc. Ann. art. 38.072 (Vernon 2005).
3. The sole mention by the State of Dykes's testimony was, "You heard her say it to her father,
you heard her say it four days later to the CAC interviewer, a forensic interviewer."

